





















Opinion issued February 17, 2011



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00365-CV

———————————

ANGELINA
MAYLING FLORES A/K/A ANGELINA MUNOZ, Appellant

V.

DEPARTMENT OF FAMILY AND PROTECTIVE
SERVICES, Appellee



&nbsp;



&nbsp;

On
Appeal from the 313th District Court

Harris
County, Texas



Trial
Court Cause No. 2008-05901J

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Angelina Mayling Flores a/k/a Angelina
Munoz, has neither established indigence, nor paid all the required fees.&nbsp; See Tex.
R. App. P. 5 (requiring payment of fees in civil cases unless indigent),
20.1 (listing requirements for establishing indigence); see also Tex. Gov’t Code Ann. §§&nbsp;51.207,
51.941(a) (Vernon 2005), § 101.041 (Vernon Supp. 2010) (listing
fees in court of appeals); Order Regarding Fees Charged in Civil Cases in the
Supreme Court and the Courts of Appeals and Before the Judicial Panel on
Multidistrict Litigation, Misc. Docket No. 07-9138 (Tex. Aug. 28, 2007), reprinted in Tex. R. App. P. app. A § B(1) (listing fees in court of appeals).&nbsp; After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.&nbsp; See Tex.
R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss the appeal for nonpayment
of all required fees.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss any pending motions as
moot.

PER CURIAM

Panel
consists of Justices Keyes, Sharp, and Massengale.

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